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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 JIANGSU SOHO TECHNOLOGY TRADING CO., LTD.

                                 Plaintiff,                            CIVIL ACTION NO.:

                -against-                                              COMPLAINT

 AGE GROUP LTD.                                                        JURY TRIAL DEMANDED

                                 Defendant.




       Plaintiff Jiangsu Soho Technology Trading Co., Ltd. (“Plaintiff”) by and through its

undersigned attorneys, alleges as follows for its complaint against Defendant, AGE Group Ltd.

(“Defendant”) upon information and belief:

                                              PARTIES
       1.      At all material times, Plaintiff was and is a foreign company engaged in

international commerce with its principal offices located at 48 Ningnan Road, Nanjing, Jiangsu

Province, People’s Republic of China 210012.

       2.      Upon information and belief, at all material times, Defendant is a New York

company with its principal place of business located at 2 Park Avenue FL 18, New York, New

York 10016.

       3.      Plaintiff engages in the manufacture, production sale and export of various garment

products.


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       4.      At all material times, Defendant ordered and purchased various models of garment

products from the Plaintiff, which are the subject of this action (hereinafter referred to as “the

Goods”).

                                        BACKGROUND

       5.      This is an action to recover moneys due for the Goods sold by Plaintiff to

Defendant, together with applicable interest, costs, and attorney’s fees.

       6.      In 2019, Plaintiff manufactured and delivered the Goods to Defendant as per

purchase orders issued by the Defendant. Plaintiff issued invoices for the Goods in the amount of

$2,160,744.47 under the following invoice numbers: No.91917375228H, 91917375251H,

91917375226H,       91917375223H,        91917375225H,        91917375230H,       91917375231H,

91917375232H,       91917375229H,        91917375233H,        91917375234H,       91917375236H,

91917375235H,       91917375237H,        91917375238H,        91917375239H,       91917375239H,

91917375240H,       91917375241H,        91917375242H,        91917375243H,       91917375244H,

91917375245H, 91917375246H, 91917375248H, 91917375227H, 91917375252H, 0028124,

0028125, 0028126, 0028199, 0028200, 0028209, 0028210, 0028211, 0028212, 0028213,

0028214, 0028215, 0028216, 0028217, 0028218, 0028219, 0028220, 0028221.

       7.      Plaintiff shipped and delivered the Goods to Defendant, but Defendant failed to

timely make payments under the invoices.

                                JURISDICTION AND VENUE

       8.      This Court possesses jurisdiction over this case pursuant to 28 U.S.C. § 1332(a), as

there is diversity between a subject of a foreign state (Jiangsu) and a citizen of the State of New

York (New York City), and the amount in controversy exceeds $75,000.00.




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       9.      Venue is proper in this case pursuant to 28 U.S.C. §1391(b), as Defendant resides

within the Southern District of New York.

                                   FIRST CAUSE OF ACTION

                                    BREACH OF CONTRACT
       10.     Plaintiff repeats and realleges the allegations contained in each of the preceding

paragraphs as if fully set forth herein.

       11.     Plaintiff shipped the Goods to Defendant in accordance with the above-mentioned

commercial invoices.

       12.     Defendant breached its contracts with Plaintiff by failing to pay for the Goods

shipped to the Defendant.

       13.     As a direct and proximate result of the Defendant’s breach of its contractual

obligations under the commercial invoices referenced herein, Plaintiff has been damaged in an

amount totaling $2,160,744.47, plus interest, costs, and attorneys’ fees.

                                 SECOND CAUSE OF ACTION

                                     ACTION ON ACCOUNT

       14.     Plaintiff repeats and realleges the allegations contained in each of the preceding

paragraphs as if fully set forth herein.

       15.     Plaintiff shipped the Goods and issued the above-referenced commercial invoices

to Defendant, pursuant to the sale contracts received from the Defendant.

       16.     Defendant received and retained the invoices without objection.

       17.     Defendant failed to remit payment despite that it has been in possession of the

invoices beyond a reasonable amount of time.

       18.     Plaintiff demanded payment of the balance due, but Defendant has refused to pay

and remains delinquent in its account.


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          19.   As a direct and proximate result of the Defendant’s failure to pay the invoices,

Plaintiff has been damaged in an amount totaling $2,160,744.47, plus interest, costs, and attorneys’

fees.

                                  THIRD CAUSE OF ACTION

                                    UNJUST ENRICHMENT

          20.   Plaintiff repeats and re-alleges the foregoing paragraphs as if set forth here at full

length.

          21.   Defendant was enriched by accepting delivery of the Goods.

          22.   Plaintiff is impoverished in the value of the Goods delivered to Defendant.

          23.   Defendant’s enrichment is connected to Plaintiff’s impoverishment, as Defendant

accepted delivery of the Goods without providing payment to Plaintiff.

          24.   Defendant has no justification for keeping, using, or reselling the Goods without

payment to Plaintiff.

          25.   Although Plaintiff made a written demand for payment of the amount due,

Defendant remains delinquent in providing payment.

          26.   By reason of the aforesaid, Plaintiff is unjustly enriched by Plaintiff’s delivery of

the Goods and Plaintiff sustained damages in the amount of $2,160,744.47.

          WHEREFORE, plaintiff Jiangsu Soho Technology Trading Co., Ltd. demands judgment

against defendant AGE Group Ltd. for the sum of $2,160,744.47; for pre-judgment and post-

judgment interest; for attorney’s fees and the costs of the action; and for such other and further

relief as this court deems proper and just.




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  Dated: New York, New                   MAZZOLA LINDSTROM LLP
   York June 13, 2022
                                         __________________________
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To:   AGE GROUP LTD.
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